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                                   STATEMENT OF FACTS

        Your affiant, Jamie Vera, is a Special Agent of the Federal Bureau of Investigation since
September 2015, and is currently assigned to the Washington Field Office. In my duties as a
special agent, I am responsible for conducting and assisting with securities fraud and investment
fraud investigations, including related white collar and financial crimes. Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Michael R. Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         Multiple witnesses have submitted or referenced a video from London-based news
organization “ITV News” and identified JOSEPH BARNES as an individual seen in the United
States Capitol on January 6, 2021. Your affiant has watched the relevant portion of the ITV News
video witnesses used to identify BARNES.1 At about three minutes and eighteen seconds into the
video, the individual witnesses identified as BARNES is dressed in a dark-colored beanie hat, an
American flag neck gaiter around his neck, and a dark-colored winter jacket with a light-colored
fleeced neckline. BARNES appears in the center of the video and is standing in what is clearly
the United States Capitol, surrounded by other rioters. When he appears in the video, BARNES
says “This is our house! This is our country! This is our country!” While yelling, BARNES is
gesturing forcefully, pointing downward as if to identify the Capitol and the country as the rioters’.
In his left hand, BARNES is holding what appears to be a smartphone that is lit as if it is powered
on and functioning.

       Law enforcement has contacted a number of the witnesses who identified BARNES in the
above-described video, and they have detailed how they personally know BARNES. One witness
(Witness 1), for example, has interacted with BARNES at his Austin, Texas residence on multiple
occasions. Witness 1 provided a number of photographs, circling the individual in the photograph
and identifying him as BARNES. One of those photographs is depicted below in Figure One.




                                                  Figure One

1
 As of February 6, 2021, the video witnesses used to identify BARNES in the United States Capitol on January 6,
2021, continued to be publicly available at https://www.youtube.com/watch?v=UBp42536IhE&ab_channel=ITV
News&bpctr=1612645229.
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        Another witness (Witness 2) informed law enforcement that they went to school with
BARNES and that they knew BARNES attended Anderson High School, which appears to be in
Austin, Texas. Witness Two submitted a screenshot of a video he explained showed BARNES in
the United States Capitol on January 6, 2021, and yelling, “This is our country.” The screenshot
of the video Witness 2 provided is depicted below in Figure Two.




                                                Figure Two

       A third, anonymous witness (Witness 3) referenced the ITV News video and reported to
law enforcement that the individual depicted in the video is BARNES. Witness 3 also informed
law enforcement that BARNES works for a commercial real estate services company and provided
the company’s webpage, which lists “Joseph Barnes” as a Vice President based out of Austin,
Texas. 2 Witness 3 provided a screenshot of BARNES’s photograph as seen on the company’s
webpage, provided below in Figure Three. The person on the company’s webpage identified as
Joseph Barnes appears to be the same person seen in the ITV News video and the screenshots that
Witness 1 and Witness 2 provided to the FBI, and is based from the same location the witnesses
provided.




2
  The webpage Witness 3 provided to identify BARNES can be found here: https://www.us.jll.com/en/people/joe-
barnes.
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                                          Figure Three

        Finally, open source research has identified a social media account for “Joe Barnes Art”
on Facebook, and a separate webpage found at www.joebarnesart.com. The company’s logo
includes what appears to be a signature for “Joe Barnes” above the state of Texas with the words
“Austin, Texas.” On the Joe Barnes Art Facebook page, there are at least two photographs that
appear to show the same person witnesses have identified in Figures One, Two, and Three
above—all based on the bald head, facial hair, face, and location in Austin, Texas. The first
photograph shows BARNES standing in front of a piece of artwork holding what appears to be
an assault-style rifle, pointing it at the camera, accompanied by a caption that reads “A society
that puts equality before freedom will get neither.” The second photograph shows BARNES
squatting beside a number of pieces of artwork. Those photographs are below in Figures Four
and Five, respectively.
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     Figure Four                                                  Figure Five


       Your affiant believes the individual all witnesses have identified as BARNES is, in fact,
JOSEPH CABLE BARNES of Austin, Texas. A records search of the Texas Department of
Motor Vehicles has revealed a driver’s license photograph that matches the photographs and
video screenshots multiple witnesses have identified as BARNES.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JOSEPH CABLE BARNES violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that JOSEPH CABLE
BARNES violated 40 U.S.C. § 5104(e)(2)(D) utter loud, threatening, or abusive language, or
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.
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       Finally, your affiant submits there is probable cause to believe that JOSEPH CABLE
BARNES violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.


                                                    _________________________________
                                                    JAMIE VERA
                                                    SPECIAL AGENT, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 8th day of February 2021.
                                                                          2021.02.08
                                                                          14:49:38 -05'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
